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                          EXHIBIT 1
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                                   Joint Venture Agreement

   Agreement
   Triangle Experience Group (“TEG”) and Max Minds, LLC (“MAX”) are entering into the following
   Joint Venture Agreement. The key tenants of the agreement are:
       1. TEG will represent the capability, maintain the delivered systems and provide capability
           attributes statements to the federal customer. TEG will maintain a web presence for
           marketing material of the Haptic Federal product. TEG will deliver, deploy, sustain and
           develop customer requirements.
       2. MAX will develop and engineer capabilities to support the customer needs. TEG and MAX
           will partner together to deliver capabilities to the end user in the federal customer space.

   The agreement has three main sections:
      1. Collective approach to sell, deliver and sustain a collaborative capability to the US
          Government.
      2. Share revenues awarded by US Government customers.
      3. Maintain a federally focused source code, called Haptic Federal, for exclusive use by the US
          government. The exclusivity comes with TEG’s ability to sell, market, install, train, maintain
          the capability. Considering, MAX concentrates on the development and engineering of its
          platform.

   Retainer
   TEG agrees to execute an initial retainer payable to MAX. The retainer and associated payment
   schedule is commensurate and contingent upon government funds. Retainer payments are credited
   towards revenue targets below.
      1. 1 Feb – 30 Apr 2020: $45k, payable on or before 01 Feb 2020
      2. 1 May- 27 July 2020: $75k, payable on or before 01 May 2020
      3. 27 July 2020 – 27 July $25k per month, payable on or before the first of each month.
   Description of payments:
      • Payment #1 is guaranteed currently available funds
      • Payment #2 is proposed & contingent upon govt funding of the remaining ceiling on base
          year contract
      • Payment #3 is proposed & contingent upon govt funding the option year associated with
          current contract
      • All $25k per month retainer fees in this section will end and be replaced once the sales
          revenue payments meet or exceed $300K per year as per section titled “TEG and MAX
          revenue share” of this Joint Venture agreement.
   Retainer payments will be used by MAX for the following:
      • Create and maintain a branch of the Haptic source code, called Haptic Federal;
      • Install and support the 2x installations that TEG has requested for testing and
          demonstration purposes;
      • As the commercial Haptic platform evolves, MAX will provide TEG with a software update at
          least once every 3 months;
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       •   MAX will support TEG, when possible, at any demos/events;
       •   MAX will collaborate with TEG on marketing/sales collateral.

   Exclusivity of Distribution
   TEG is the exclusive distributor/reseller of the Haptic Federal product into the federal market.
   Below are the license-based revenue targets, paid to MAX, that need to be hit in order to (maintain)
   the exclusivity beyond the first year.
       • $300K in 2020
       • $1M in 2021
       • $3.75 in 2022
       • $5M in 2023
       • $10M in 2024
       • after year 5, a 50% growth rate year-over-year

   Information Exchange
   TEG and Max agrees to establish and share an electronic files system. TEG and MAX agree to work
   collaboratively on the preparation and delivery of:
       • Proposals
       • Marketing materials
       • Activity reporting to government customers
   TEG and MAX agree to conduct routine project and program management review discussions.

   Intellectual Property
   Any Intellectual Property (“IP”) resulting from custom software development that is paid for by TEG
   will be co-owned by TEG and MAX, except any plug-in features paid for by the government that are
   contractual deliverables to the govt customer.

   Demo Product/Licenses
   MAX agrees to partition two instances of Haptic Federal, for testing and demo purposes, and
   provide TEG with the ability to create unlimited user accounts. One instance will be used for testing
   and development and one will be used for demonstrations. Both instances will be installed in the
   TEG commercial data center. The data center will be hosted by TEG and access will be given to MAX
   personnel.

   Source Code
   If either TEG or MAX should cease to be a viable company the other company would convert
   ownership of the source code in an ownership transfer, so long as TEG is still the exclusive
   reseller/distributor.

   Haptic Federal Pricing
      • Target MSRP $500k (minimum $250K, per location) On-Prem C4MAP Secure Gateway Nod
           (SGN): TEG is responsible for shipping, delivery, functional acceptance, install, training and
           Tier 1 support.
      • Target MSRP year over year renewal: 20% of negotiated sale price above (minimum $50K
           per year, per location)
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       •   MAX and/or MAX development partners may develop new products or add-ons that TEG
           can resell into the federal market. Pricing and margin to be determined.

   TEG and MAX revenue share:
      • 50% on total sale of Haptic Federal product and user license sales in federal customer and
         opportunity business space
            o Exceptions: Training, A/V installs, additional H/W expenses, accessories
      • 50% on total sale in non-federal opportunities, when using co-owned IP
            o Exceptions: Any non-federal sale opportunity exclusive to TEG or MAX

   Channel Sales and Display Partner Relationships
      • TEG will establish and manage all federal channel sales partnerships. Any channel discount
         will be negotiated using TEG’s portion of the TEG/MAX shared revenue.
      • TEG recognizes that MAX maintains close relationships with display manufacturers, like
         Planar, Dell, etc. These display manufacturers will occasionally send sales leads and/or
         invite MAX to participate with them in events/tradeshows. Any Federal sales opportunities
         that come to MAX from these events will be handed off to TEG. For these opportunities,
         TEG agrees to resell displays from the display manufacturer and not specify a competitive
         product.

   Acquisition of Source Code
   If TEG finds a suitor for the Haptic Federal product, MAX would be willing to sell the Haptic Federal
   source code. Sale price could be calculated as the greater of $5M -or- 5x gross sales from the
   previous year. If TEG and MAX both agree on all terms of the sale, the proceeds could be split in
   the following way:
        • 50% split, if sale price is $20M or more.
        • 70% MAX, 30% TEG if sale price is less than $20M.

   Drag-Along Rights
   If either MAX or TEG is sold; the terms of this agreement will still be honored by the acquiring
   company for 36 months.



                                        SIGNATURE PAGE FOLLOWS
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   The Joint Venture Agreement is accepted on this 13th day of January 2020.


   Triangle Experience Group (“TEG”)                      Max Minds, LLC (“MAX”)



   By: ____________________________________ By: ___________________________________


   Printed:   Robert Clare                       Printed:       Brandon Fischer


   Title:     CEO/President                      Title:        CEO/Founder


   Date:      23 January 2020                    Date:        23 January 2020
